
751 So.2d 869 (1999)
STATE ex rel. Jimmy LEVEL
v.
STATE of Louisiana.
No. 99-KH-2266.
Supreme Court of Louisiana.
December 17, 1999.
Writ granted in part; otherwise denied. The district court and district attorney are ordered to supply relator with estimates of the costs of reproducing public records relator has requested and to which relator is entitled. La. Const. art. XII, Section 3; R.S. 44:31; State ex rel. Gray v. State, 97-0447 (La.9/5/97), 699 So.2d 74; Range v. Moreau, 96-1607 (La.9/3/96), 678 So.2d 537. In all other respects, the application is denied.
VICTORY, J., not on panel.
